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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

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                                   8     ELLIOT LIBMAN,                                    Case No. 5:22-cv-07069-EJD
                                                        Plaintiff,                         ORDER DENYING STIPULATION TO
                                   9
                                                                                           CONSOLIDATE ACTIONS
                                                 v.
                                  10

                                  11     APPLE, INC.,                                      Re: ECF No. 57
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The Court DENIES the parties’ stipulation to consolidate actions because not all

                                  14   signatories have made all required appearances. Specifically, L. Timothy Fisher has not yet

                                  15   appeared in Sgro v. Apple Inc., Case No. 5:23-cv-00894-EJD, Tina Wolfson has not yet appeared

                                  16   in Serrano v. Apple Inc., Case No. 5:23-cv-00487-EJD, and Emily Johnson Henn has not yet

                                  17   appeared in Lucero v. Apple Inc., No. 5:23-cv-00901-EJD. The parties may refile their stipulation

                                  18   once appropriate appearances have been made. When refiling their stipulation, they shall also file

                                  19   their proposed order as a separate document attached to the stipulation.

                                  20          IT IS SO ORDERED.

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                                  22   Dated: March 22, 2023

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                                                                                                   EDWARD J. DAVILA
                                  24                                                               United States District Judge
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                                  28   Case No.: 5:22-cv-07069-EJD
                                       ORDER DENYING STIPULATION TO CONSOLIDATE ACTIONS
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